Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 1 of 22




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-01557-DDD-STV

   DARREN PATTERSON CHRISTIAN ACADEMY
       Plaintiff,
   v.

   LISA ROY, in her official capacity as Executive Director of the Colorado
   Department of Early Childhood; and

   DAWN ODEAN, in her official capacity as Director of Colorado’s Universal
   Preschool Program,
         Defendants.

   RESPONSE TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 2 of 22




                                              TABLE OF CONTENTS


   INTRODUCTION .......................................................................................................... 2

   BACKGROUND ............................................................................................................. 3

   PRELIMINARY INJUNCTION STANDARD .............................................................. 3

   ARGUMENT .................................................................................................................. 4

       I. Plaintiff cannot establish standing and ripeness and thus cannot show a
            likelihood of success on the merits. .................................................................... 4

       A. Plaintiff cannot establish standing because it has not suffered a concrete and
             particularized injury; nor is such an injury imminent, as Plaintiff faces no
             credible threat of enforcement. .......................................................................... 6

       B. Plaintiff’s lawsuit is not ripe because it is not fit for judicial resolution and
             withholding judicial consideration poses no hardship to Plaintiff. .................. 9

       1. This claim is not fit for judicial resolution because Plaintiff bases its claims
             on events that have not occurred and may never occur.................................... 9

       2. Withholding judicial consideration of this claim imposes no hardship as
             Plaintiff does not face a direct and immediate dilemma. ............................... 12

       II. No other factors support a preliminary injunction. ......................................... 13

       A. Plaintiff cannot establish irreparable harm. ................................................... 14

       B. The balance of the threatened injuries and the public interest weigh heavily
              in the Department’s favor. .............................................................................. 15

   CONCLUSION............................................................................................................. 17



                                                                 i
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 3 of 22




                                             TABLE OF AUTHORITIES

   Cases

   303 Creative LLC v. Elenis, 143 S. Ct. 2298 (2023)...................................................... 8

   303 Creative LLC v. Elenis, 6 F.4th 1160 (10th Cir. 2021) .......................................... 8

   Abbott Laboratories v. Gardner, 387 U.S. 136 (1967) ........................................ 4, 9, 12

   Baker v. Carr, 369 U.S. 186 (1969) ............................................................................... 4

   Carney v. Adams, 141 S. Ct. 493 (2020)........................................................................ 6

   Colemen v. Miller, 307 U.S. 433 (1939) ......................................................................... 6

   Denver Homeless Out Loud v. Denver, 32 F.4th 1259 (10th Cir. 2022) ..................... 13

   Dominion Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d 1256 (10th Cir.
    2004) .......................................................................................................................... 15

   El Dia, Inc. v. Hernandez Colon, 963 F.2d 488 (1st Cir. 1992) .................................. 12

   Fish v. Kobach, 840 F.3d 710 (10th Cir. 2016) ..................................................... 15, 16

   Heideman v. S. Salt Lake City, 348 F.3d 1182 (10th Cir. 2003) ................................ 14

   Keyes v. Sch. Dist. No. 1, Denver, Colo., 119 F.3d 1437 (10th Cir. 1997) .................... 4

   Lawrence v. Colorado, 455 F. Supp. 3d 1063 (D. Colo. 2020) ...................................... 3

   Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) ..................................................... 3

   Magluta v. U.S. Fed. Bureau of Prisons, No. 11-CV-02381-RM-KLM, 2013 WL
    4781596, at *4 (D. Colo. Sept. 6, 2013) .................................................................... 15

   Nat'l Park Hosp. Ass'n v. Dep't of the Interior, 538 U.S. 803 (2003) ......................... 13

   New Mexicans for Bill Richardson v. Gonzales, 64 F. 3d 1495 (10th Cir. 1995) ... 9, 12

   N.M. Dep't of Game & Fish v. U.S. Dep't of the Interior, 854 F.3d 1236 (10th Cir.
    2017) .......................................................................................................................... 15

   Nken v. Holder, 556 U.S. 418 (2009) ........................................................................... 15

                                                                   ii
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 4 of 22




   Peck v. McCann, 43 F.4th 1116 (10th Cir. 2022) .......................................................... 6

   Roberts v. U.S. Jaycees, 468 U.S. 609 (1984) .............................................................. 17

   RoDa Drilling Co. v. Siegal, 552 F.3d 1203 (10th Cir. 2009) ..................................... 14

   Salazar v. Buono, 559 U.S. 700 (2010) ....................................................................... 16

   Schaffer v. Clinton, 240 F.3d 878 (2001)....................................................................... 4

   Sierra Club v. Yeutter, 911 F.2d 1405 (10th Cir. 1990).................................. 10, 11, 12

   Spokeo Inc. v. Robins, 578 U.S. 330 (2016) ................................................................... 6

   State v. U.S. Envtl. Prot. Agency, 989 F.3d 874 (10th Cir. 2021) .............................. 15

   Susan B. Anthony List v. Driehaus, 573 U.S. 149 (2014)............................................. 6

   Texas v. United States, 523 U.S. 296 (1998) ................................................................. 9

   Thompson v. Dewine, 959 F.3d 804 (6th Cir. 2020).................................................... 16

   TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021)................................................... 6

   United States v. Bennet, 823 F.3d 1316 (10th Cir. 2016) ........................................... 11

   United States v. Cabral, 926 F.3d 687 (10th Cir. 2019) ............................................... 9

   Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7 (2008) ........................ 4

   Constitutions

   Article III, U.S. Constitution................................................................................. 3, 4, 6

   Statutes

   § 26.5-1-102(1)(a), (f), C.R.S. (2022) ............................................................................ 16

   § 26.5-4-202, C.R.S. (2022) .......................................................................................... 16

   § 26.5-4-202(1)(a)(V), C.R.S. (2022) ............................................................................. 16

   § 26.5-4-205(2)(b), C.R.S. (2022).............................................................................. 2, 16




                                                              iii
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 5 of 22




   Rules

   Fed. R. Civ. P. 10(c) ....................................................................................................... 3

   Other Authorities

   13A Wright, Miller & Cooper, Federal Practice & Procedure, § 3532.1 at 1 (3d Ed.)
     .................................................................................................................................. .12

   13A Wright, Miller, and Cooper, Federal Practice and Procedure, §3532 at 112 (3d
     Ed.) .............................................................................................................................. 9




                                                                     iv
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 6 of 22




         Defendants, Lisa Roy, in her official capacity as Executive Director of the

   Colorado Department of Early Childhood, and Dawn Odean, in her official capacity

   as Director of Colorado’s Universal Preschool Program, respond to Plaintiff’s Motion

   for Preliminary Injunction (Doc. 14) and urge the Court to deny the Motion.

                                     INTRODUCTION

          During the 2020 election, Colorado voters approved a Universal Preschool

   Program (the “Program”). Beginning in the 2023-2024 school year, the Program

   provides that children qualify for at least 15 hours per week of free preschool

   services. The Colorado Department of Early Childhood (the “Department”) has

   worked to identify and recruit preschool providers throughout the State from as

   broad a range as possible, including faith-based providers. Plaintiff is one of 37

   faith-based providers participating in the Program. Plaintiff currently has 18

   children accepted in its preschool through the Program for the 2023-24 school year.

   Odean Declaration ¶ 25. On August 1, 2023, Plaintiff received its first Program

   payment for all 18 of those children. Exhibit 1001.

         Although it has not encountered a single obstacle to its participation in the

   Program, Plaintiff asserts that Colo. Rev. Stat. § 26.5-4-205(2)(b), (the “Quality

   Assurance Provision”) and one of the Program’s contract terms (“Contractual

   Provision 18(B)”) infringe upon its First Amendment rights by preventing Plaintiff

   from: (1) hiring employees that share its religious beliefs; (2) participating in the

   Program; and (3) receiving tuition reimbursement. Plaintiff’s asserted claims cannot


                                              2
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 7 of 22




   succeed on the merits as they fail to satisfy Article III requirements of standing and

   ripeness. Additionally, Plaintiff cannot establish that it will suffer irreparable harm

   absent a preliminary injunction because Plaintiff has neither suffered nor

   imminently faces any of its claimed harms—the Department has not attempted to

   interfere with Plaintiff’s hiring practices; Plaintiff continues to actively participate

   in the Program; and Plaintiff is receiving tuition payments from the Department.

   Finally, the balance of equities and public interest weigh heavily in the

   Department’s favor. For these reasons, Plaintiff’s Motion for Preliminary Injunction

   should be denied.

                                      BACKGROUND

         As permitted by Fed. R. Civ. P. 10(c), Defendants adopt the background set

   forth more fully in their Motion to Dismiss.

                       PRELIMINARY INJUNCTION STANDARD

         “A preliminary injunction is an extraordinary remedy, the exception rather

   than the rule.” Lawrence v. Colorado, 455 F. Supp. 3d 1063, 1070 (D. Colo. 2020)

   (quotations omitted). A plaintiff seeking a preliminary injunction in federal court

   must satisfy Article III justiciability requirements of standing and ripeness. See

   Lujan v. Defenders of Wildlife, 504 U.S. 555, 559-60 (1992). A plaintiff seeking a

   preliminary injunction must also establish (1) a substantial likelihood of success on

   the merits, (2) that they will suffer irreparable harm if the preliminary injunction is

   denied, (3) that the threatened injury outweighs the injury caused by the injunction,


                                               3
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 8 of 22




   and (4) that the injunction is not adverse to public interest. Winter v. Natural

   Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).

                                        ARGUMENT

         I.       Plaintiff cannot establish standing and ripeness and thus
                  cannot show a likelihood of success on the merits.

         The Article III requirements of standing and ripeness (like other justiciability

   requirements) serve several key functions. They ensure quality judicial decision-

   making by requiring that federal courts are presented only with concrete

   controversies that “sharpen[] the presentation of issues upon which the court so

   largely depends for illumination of difficult constitutional questions.” Schaffer v.

   Clinton, 240 F.3d 878, 883 (2001) (quoting Baker v. Carr, 369 U.S. 186, 204 (1969)).

   Standing and ripeness requirements also prevent the unwise use of scarce judicial

   resources to resolve speculative or conjectural disputes that may never come to

   fruition. See Keyes v. Sch. Dist. No. 1, Denver, Colo., 119 F.3d 1437, 1443 (10th Cir.

   1997) (“The case or controversy requirement of Article III admonishes federal courts

   to avoid ‘premature adjudication’ and to abstain from ‘entangling themselves in

   abstract disagreements’”) (quoting Abbott Laboratories v. Gardner, 387 U.S. 136,

   148 (1967)).

         For Plaintiff to establish standing and ripeness to challenge the Quality

   Assurance Provision, a very lengthy and speculative set of circumstances must

   occur: (1) a family enrolls their eligible child in the Program; (2) the family

   considers Plaintiff as a potential match in the Program; (3) the family learns about

                                               4
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 9 of 22




   Plaintiff’s policies and procedures; (4) the family requests an exemption from

   Plaintiff's policies and procedures; (5) Plaintiff refuses to provide equal access to

   preschool to that child; (6) A complaint is filed with the Department regarding

   Plaintiff’s actions; (7) the Department investigates the complaint; (8) the

   Department finds violation; (9) Plaintiff refuses to remedy the violation; and (10)

   the Department files a breach of contract claim against Plaintiff. Doc. 1 at 8, ¶¶ 46-

   51. None of these events has occurred, and they may never occur.

         Likewise, under Contractual Provision 18(B), a lengthy and speculative set of

   events must also occur: (1) an Individual applies for a Program position with

   Plaintiff or is already an employee in Plaintiff’s preschool; (2) Plaintiff believes the

   Individual is not living life as a co-religionist as a “born-again Christian,” Doc.1 at

   12, ¶¶ 68, 71; (3) Plaintiff declines to hire or fires the Individual; (4) the Individual

   files a complaint with the Department; (5) the Department investigates the

   Complaint; (6) the Department finds a violation of Contractual Provision 18(B); (7)

   Plaintiff refuses to remedy the violation; and (8) the Department files a breach of

   contract claim against Plaintiff. None of these events have occurred, and they may

   never occur.

         Given the lengthy and speculative chain of events that would be required for

   Plaintiff to establish any injury, Plaintiff can establish neither standing nor

   ripeness, and this Court cannot consider the merits.




                                               5
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 10 of
                                     22




               A.     Plaintiff cannot establish standing because it has not
                      suffered a concrete and particularized injury; nor is such
                      an injury imminent, as Plaintiff faces no credible threat
                      of enforcement.

        Under Article III, federal courts lack jurisdiction to “pass upon abstract

  intellectual problems.” Carney v. Adams, 141 S. Ct. 493, 498 (2020) (quoting

  Colemen v. Miller, 307 U.S. 433, 460 (1939) (opinion of Frankfurter, J.)). A plaintiff

  has the burden to show an invasion of a legally protected interest that is concrete

  and particularized, and actual or imminent, not conjectural or hypothetical. Spokeo

  Inc. v. Robins, 578 U.S. 330, 339 (2016). The touchstone of this inquiry is whether a

  plaintiff suffers concrete harm. “No concrete harm, no standing.” TransUnion LLC

  v. Ramirez, 141 S. Ct. 2190, 2200 (2021).

        In a narrow category of cases, a plaintiff who fears enforcement of a

  challenged law may seek pre-enforcement review. See Susan B. Anthony List v.

  Driehaus, 573 U.S. 149, 158-59 (2014) (“SBA List”). However, pre-enforcement

  challenges are limited to cases where enforcement is “certainly impending, or there

  is a substantial risk that the harm will occur.” Id. at 158. To establish standing in a

  pre-enforcement action alleging a First Amendment violation, a plaintiff must thus

  allege, among other things, “a credible threat of prosecution” and “ongoing injury

  resulting from the statute's chilling effect on his desire to exercise his First

  Amendment rights.” Peck v. McCann, 43 F.4th 1116, 1129 (10th Cir. 2022) (citations

  omitted).



                                              6
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 11 of
                                     22




        Here, Plaintiff cannot establish standing for its challenge to the Quality

  Assurance Provision because it has not suffered a concrete and particularized

  injury; nor is such an injury imminent, as Plaintiff faces no credible threat of

  enforcement. First, Plaintiff is participating in the Program, has 18 children

  matched to its preschool, and has received the initial tuition disbursement from the

  Program for those 18 children. Second, Plaintiff cannot and does not allege that the

  Department has taken or intends to take any action against it because of its

  internal policies or procedures. Plaintiff does not allege that any family has asked

  for any exemptions to Plaintiff’s bathroom, dress code, or other policies enumerated

  in the Motion. Nor can the Department determine whether a provider has violated

  the Quality Assurance Provision without specific facts about what a family

  requested, what the provider denied, and the reasons for and circumstances

  surrounding any such denial. Third, the Department has not disciplined any faith-

  based Provider in the past, and the Department is the only entity with authority to

  enforce compliance with the Quality Assurance Provision.

        Plaintiff also fails to establish an actual or imminent injury resulting from

  Contractual Provision 18(B) because it has not suffered a concrete and

  particularized injury; nor is such an injury imminent, as Plaintiff faces no credible

  threat of enforcement. Plaintiff appears to assert that it cannot participate in the

  Program and continue to “hire based on its religion.” Doc. 14 at 10; Doc. 1 at 18,

  ¶ 110. However, the Department interprets Contractual Provision 18(B) to allow


                                             7
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 12 of
                                     22




  religious organizations like Plaintiff to prefer its co-religionists and to afford it wide

  discretion to make employment decisions about its ministerial employees, so long as

  it complies with federal law. The Department has not and will not enforce

  Contractual Provision 18(B) against religious providers who prefer co-religionists in

  compliance with federal law, or against religious providers’ employment decisions

  involving their ministerial employees that comply with federal law. Odean

  Declaration ¶ 26. The Department has not disciplined any provider in the past, has

  not expressed any intention to interfere with Plaintiff’s hiring decisions, has

  matched 18 children with Plaintiff’s preschool and disbursed initial tuition

  payments to Plaintiff. The Department is the only entity with enforcement

  authority over this provision. 1

        For all these reasons, Plaintiff cannot establish a credible threat of

  enforcement, and thus cannot establish pre-enforcement standing. And because

  Plaintiff cannot establish standing, it is not likely to prevail on the merits.




  1 Plaintiff attempts to rely on the recent case of 303 Creative LLC v. Elenis, but that

  case does not remotely resemble this one. Doc. 14 at 17. In 303 Creative, the Court
  found a credible threat of enforcement where there was a “history of past
  enforcement against nearly identical conduct” and where the law at issue was
  enforceable by private parties as well as the state. 303 Creative LLC v. Elenis, 143
  S. Ct. 2298, 2310 (2023) (quoting 303 Creative LLC v. Elenis, 6 F.4th 1160, 1174
  (10th Cir. 2021)). Plaintiff alleges neither here.

                                              8
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 13 of
                                     22




               B.     Plaintiff’s lawsuit is not ripe because it is not fit for
                      judicial resolution and withholding judicial
                      consideration poses no hardship to Plaintiff.

        The Court also lacks subject matter jurisdiction because Plaintiff’s claims are

  not ripe. See New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495, 1498-99

  (10th Cir. 1995). A claim is not ripe for adjudication when it rests upon “contingent

  future events that may not occur as anticipated, or indeed may not occur at all.”

  Texas v. United States, 523 U.S. 296, 300 (1998); accord United States v. Cabral,

  926 F.3d 687, 693 (10th Cir. 2019). The ripeness test requires courts to consider two

  factors: (1) the fitness of the issue for judicial resolution; and (2) the hardship to the

  parties of withholding judicial consideration. Abbott Laboratories, 387 U.S. at 149.

                      1.     This claim is not fit for judicial resolution because
                             Plaintiff bases its claims on events that have not
                             occurred and may never occur.

        Plaintiff fails to present any actual controversy fit for judicial resolution.

  Instead, Plaintiff merely alludes to imagined, uncertain scenarios that may never

  materialize. New Mexicans for Bill Richardson, 64 F.3d at 1499 (citing 13A Wright,

  Miller, and Cooper, Federal Practice and Procedure, §3532 at 112); Doc. 1 at 4 ¶ 18;

  at 18 ¶¶ 109-110.

        In determining whether Plaintiff’s claim is fit for decision or whether it

  instead involves uncertain or contingent future events, courts consider whether the

  challenged government action is final and whether determination of the merits

  turns upon strictly legal issues or requires facts that may not have been sufficiently


                                              9
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 14 of
                                     22




  developed. Sierra Club v. Yeutter, 911 F.2d 1405, 1415 (10th Cir. 1990). Plaintiff

  cannot assert any final governmental action against it as it is actively participating

  in the Program without interruption and in fact already received its first tuition

  payment from the Department. Odean Declaration ¶ 24; Exhibit 1001. Additionally,

  the Program has not yet begun rulemaking for its Quality Standards and Plaintiff is

  welcome to participate in that process as a stakeholder, just as it was welcome to

  join the faith-based working group. The Department has not taken any action

  against Plaintiff as no factual scenario has prompted a complaint or investigation,

  much less adverse administrative action.

        For the claim involving the Quality Assurance Provision to be fit for judicial

  resolution, the family of a Program student would have to make a request

  inconsistent with Plaintiff’s “restroom, pronoun, dress code, or housing” policy.

  Then, Plaintiff would have to deny that child’s request. Plaintiff does not allege

  what that type of denial would look like or how it would occur. The affected family

  would have to file a complaint against Plaintiff. That complaint would then need to

  be investigated and substantiated by the Department. Determining whether

  Plaintiff had violated the Program’s Quality Assurance Provision requires specific

  facts, absent here, including the specifics of a family’s request that Plaintiff make

  certain exceptions from its policies, Plaintiff’s refusal of such a request, and the

  reasons for and circumstances surrounding any such refusal. If that complaint were




                                             10
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 15 of
                                     22




  substantiated, the Department would then give Plaintiff an opportunity to cure the

  substantiated complaint before taking action against it.

        Similarly, for the claim involving Contractual Provision 18(B) to be fit for

  judicial resolution, an individual would have to apply for a Program position with

  Plaintiff, Plaintiff would have to believe that that individual is not living their life

  as a co-religionist consistent with Plaintiff’s religious beliefs, Plaintiff would have to

  decline to hire that individual, the individual would then have to file a complaint

  with the Department, and the Department would have to investigate the complaint

  and determine whether the Plaintiff had violated the contractual provision (which

  is interpreted to permit religious providers to prefer co-religionists in accordance

  with federal law and to protect religious providers’ employment decisions about its

  ministerial employees in accordance with federal law). Again, determining whether

  Plaintiff’s action violated the provision requires specific facts, absent here, about

  the individual’s qualifications and attributes, the nature of the position in question,

  and the reasons for and circumstances surrounding Plaintiff’s refusal to hire.

  Determining the merits of Plaintiff’s claims would thus require the Court to

  speculate on facts not yet developed. United States v. Bennet, 823 F.3d 1316, 1326-

  27 (10th Cir. 2016). “[J]udicial intervention where administrative action is

  contingent and dependent on context” is inappropriate because it inhibits quality

  judicial decision-making. Sierra Club, 911 F.2d at 1416.




                                             11
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 16 of
                                     22




                      2.     Withholding judicial consideration of this claim
                             imposes no hardship as Plaintiff does not face a
                             direct and immediate dilemma.

        Plaintiff cannot demonstrate that it faces any hardship since it continues to

  receive all the benefits of the Program. For Plaintiff to prove that it experiences

  hardship, it would have to establish that the Program creates a “direct and

  immediate dilemma” for the parties. New Mexicans for Bill Richardson, 64 F.3d at

  1499 (citing El Dia, Inc. v. Hernandez Colon, 963 F.2d 488, 495 (1st Cir. 1992)).

        The Department has neither denied Plaintiff tuition reimbursement nor

  actual participation in the Program. In fact, 18 children have accepted a match with

  Plaintiff and plan to attend its school. Odean Declaration ¶ 25. Plaintiff does not

  point to any of its day-to-day activities that have changed. Sierra Club, 911 F.2d at

  1415. Delaying consideration of this case until a controversy actually arises does not

  harm Plaintiff because it faces no immediate or significant change in its conduct or

  affairs. Id. Because Plaintiff does not face a direct and immediate dilemma,

  recognizing this claim as unripe protects this Court from “premature adjudication

  from entangling [itself] in abstract disagreements.” Abbott Laboratories, 387 U.S. at

  148. Moreover, to entertain a case lacking a real dispute unfairly directs judicial

  resources away from parties who come to this Court with a real need for official

  assistance. 13A Wright, Miller & Cooper, Federal Practice & Procedure, § 3532.1 at

  1 (3d Ed.).




                                            12
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 17 of
                                     22




        For similar reasons, Plaintiff’s challenge to Contractual Provision 18(B) is not

  ripe. Here too Plaintiff bases its claim on uncertain and contingent events that have

  not occurred and may never occur. The Department interprets and applies

  Contractual Provision 18(B) to permit religious organizations to hire co-religionists

  and make employment decisions about its ministerial employees so long as they

  comply with federal law. Odean Declaration ¶ 26. The Department has not

  expressed any intention to interfere with Plaintiff’s hiring decisions and has paid

  tuition for the 18 children accepted into Plaintiff’s preschool Program. For the same

  reasons, withholding judicial consideration of this claim imposes no hardship as

  Plaintiff has not changed its day-to-day practices and does not face a direct and

  immediate dilemma.

        Ultimately, Plaintiff’s claims are not ripe as they are not fit for adjudication

  and Plaintiff faces no hardship. Nat’l Park Hosp. Ass’n v. Dep’t of the Interior, 538

  U.S. 803, 804 (2003). To involve the Court at this posture would undermine quality

  judicial decision-making and unwisely divert scarce judicial resources.

        Because Plaintiff’s claims are not ripe, this Court cannot consider the merits,

  and its motion for preliminary injunction should be denied.

        II.    No other factors support a preliminary injunction.

        Plaintiff cannot establish that Plaintiff faces irreparable injury, that the

  balance of equities tips in Plaintiff’s favor, or that an injunction is in the public

  interest. Denver Homeless Out Loud v. Denver, 32 F.4th 1259, 1279 (10th Cir. 2022)


                                              13
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 18 of
                                     22




  (movant must demonstrate all four factors before a preliminary injunction can

  issue).

                  A.     Plaintiff cannot establish irreparable harm.

            A plaintiff seeking the extraordinary remedy of a preliminary injunction

  must establish more than simply the “injury” that is required to have standing to

  bring the case in the first place. Plaintiff must show that it will suffer irreparable

  harm that is “certain, great, actual and not theoretical.” Heideman v. S. Salt Lake

  City, 348 F.3d 1182, 1189 (10th Cir. 2003). “Purely speculative harm will not

  suffice.” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1210 (10th Cir. 2009). Instead,

  the party seeking preliminary injunctive relief “must show that the injury

  complained of is of such imminence that there is a clear and present need for

  equitable relief to prevent irreparable harm.” Heideman, 348 F.3d at 1189.

            Plaintiff here alleges that it will be harmed if a series of events take place

  that have not occurred and may never occur. It does not face an imminent loss of

  funds or enrolled students and, in fact, has received its first payment for its

  participation in the Program. Exhibit 1001. Plaintiff’s alleged harm is speculative

  and it has not made any showing of a “clear and present need” for relief. Heideman,

  348 F.3d at 1189.

            Plaintiff argues because its claim is a constitutional claim, it needs only to

  show a likelihood of success on the merits and does not need to show an irreparable

  injury. Doc. 14 at 19. But this contention ignores that this Court must “nonetheless


                                                14
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 19 of
                                     22




  engage in [the] traditional equitable inquiry as to the presence of irreparable harm

  in such a context[.]” Fish v. Kobach, 840 F.3d 710, 752 (10th Cir. 2016). Indeed, “a

  showing of probable irreparable harm is the single most important prerequisite for

  the issuance of a preliminary injunction.” Dominion Video Satellite, Inc. v. Echostar

  Satellite Corp., 356 F.3d 1256, 1260 (10th Cir. 2004). To qualify as an irreparable

  harm, the threatened injury must be “imminent, certain, actual and not

  speculative.” State v. U.S. Envtl. Prot. Agency, 989 F.3d 874, 886 (10th Cir. 2021). If

  the party seeking the preliminary injunction fails to meet its burden of establishing

  irreparable injury, the Court “need not address the remaining preliminary

  injunction factors.” N.M. Dep’t of Game & Fish v. U.S. Dep’t of the Interior, 854 F.3d

  1236, 1249 (10th Cir. 2017). Plaintiff has not identified any actual or imminent

  injury and cannot show irreparable harm here.

               B.     The balance of the threatened injuries and the public
                      interest weigh heavily in the Department’s favor.

        The third and fourth factors, the balance of the threatened injuries and the

  public interest, “merge when the Government is the opposing party.” Nken v.

  Holder, 556 U.S. 418, 435 (2009). As detailed above, Plaintiff is not currently

  suffering any injury nor does it face any imminent injury. As such, the threatened

  injury to the Plaintiff cannot outweigh the injury that would be caused by the

  injunction. See Magluta v. U.S. Fed. Bureau of Prisons, No. 11-CV-02381-RM-KLM,

  2013 WL 4781596, at *4 (D. Colo. Sept. 6, 2013) (holding that where plaintiff “will

  suffer no injury if an injunction is not entered,” the balance of harm factor weighs in

                                            15
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 20 of
                                     22




  defendants’ favor).

        In terms of the public interest, “a court should be particularly cautious when

  contemplating relief that implicates public interests.” Salazar v. Buono, 559 U.S.

  700, 714 (2010). Here, the Colorado legislature declared what it believes to be the

  public interest in addressing income barriers and increasing access to high-quality

  preschool for all children in Colorado through the equitable delivery of resources.

  Colo. Rev. Stat. §§ 26.5-4-202; 26.5-1-102(1)(a), (f). In doing so, it mandated that the

  Department require that preschool providers provide all eligible children with an

  equal opportunity to enroll and receive preschool services regardless of race,

  ethnicity, religious affiliation, sexual orientation, gender identity, lack of housing,

  income level, or disability. Colo. Rev. Stat. § 26.5-4-205(2)(b).

        Colorado voters also overwhelmingly voted to establish voluntary, universal

  preschool. Colo. Rev. Stat. § 26.5-4-202(1)(a)(V). The legislature and voters are in a

  better position than Plaintiff or this Court to determine the public interest. Fish,

  840 F.3d at 755 (“our democratically elected representatives are in a better position

  than this Court to determine the public interest”); accord Thompson v. Dewine, 959

  F.3d 804, 812 (6th Cir. 2020) (“giving effect to the will of the people by enforcing the

  laws they and their representatives enact serves the public interest”). The public’s

  interest in ensuring equitable access to preschool for all Colorado children weighs

  heavily in Defendants’ favor.




                                             16
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 21 of
                                     22




        In addition, Colorado has a compelling interest in eliminating discrimination

  in hiring as well as in educational access. The goal of eliminating discrimination

  “plainly serves compelling state interests of the highest order.” Roberts v. U.S.

  Jaycees, 468 U.S. 609, 624 (1984). Therefore, this factor also weighs against a

  preliminary injunction.

                                     CONCLUSION

        For these reasons, the Plaintiff’s Motion for Preliminary Injunction should be

  denied.

  DATED: August 7, 2023.

                                                 PHILIP J. WEISER
                                                 Attorney General


                                          s/Virginia Carreno
                                          VIRGINIA CARRENO, #40998*
                                          Second Assistant Attorney General
                                          NICOLE RUST, #45225*
                                          Assistant Attorney General II
                                          KENDRA YATES, #46360*
                                          Assistant Attorney General II
                                          JANNA K. FISCHER, #44952*
                                          Assistant Attorney General II
                                          Colorado Attorney General’s Office
                                          1300 Broadway, 6th Floor
                                          Denver, Colorado 80203
                                          Telephone: (720) 508-6000
                                          Email:virginia.carreno@coag.gov
                                                 niki.rust@coag.gov
                                                 kendra.yates@coag.gov
                                                 janna.fischer@coag.gov
                                                 Attorneys for Defendants
                                                 *Counsel of Record


                                            17
Case No. 1:23-cv-01557-DDD-STV Document 29 filed 08/07/23 USDC Colorado pg 22 of
                                     22




                             CERTIFICATE OF COMPLIANCE

  I hereby certify that the foregoing pleading complies with the type-volume

  limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                              CERTIFICATE OF SERVICE

         I certify that I served the foregoing RESPONSE TO PLAINTIFF’S
  MOTION FOR PRELIMINARY INJUNCTION upon all parties herein by e-filing
  with the CM/ECF system maintained by the Court on August 7, 2023, addressed as
  follows:

  Jacob E. Reed
  44180 Riverside Parkway
  Lansdowne, VA 20176
  Email: jreed@ADFlegal.org

  David A. Cortman
  Ryan J. Tucker
  Jeremiah Galus
  Alliance Defending Freedom
  15100 N. 90th Street
  Scottsdale, AZ 85260
  Email: dcortman@ADFlegal.org; rtucker@ADFlegal.org; jgalus@ADFlegal.org

  Attorneys for Plaintiffs
                                                s/ Bonnie Smith
                                                Bonnie Smith




                                           18
